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                              UNITED STATES DISTRICT COURT

                             EASTERN DISTRICT OF LOUISIANA

AHMED BAQER, KLABERT JOSEPH               *     NO. 2020-CV-00980
GUILLOT, JR., and KLABERT JOSEPH          *
GUILLOT, SR.                              *
                      Plaintiffs          *     JUDGE PAPILLION
VERSUS                                    *
                                          *
ST. TAMMANY PARISH GOVERNMENT,            *     MAGISTRATE DOSSIER
a/k/a ST. TAMMANY PARISH COUNCIL,         *
ST. TAMMANY PARISH SHERIFF’S              *
OFFICE, RANDY SMITH, in his official      *     JURY DEMAND
and individual capacity, RODNEY J.        *
STRAIN, in his official and individual    *
capacity, GREG LONGINO, in his official   *     COMBINED WITH Louviere v.
and individual capacity, and LACEY        *     St. Tammany Parish Government
KELLY, in her official and individual     *     No. 2:20-cv-01840-WBV-DPC
and individual capacity, and LACEY        *
KELLY, in her official and individual     *
capacity                                  *     ALL CASES
                            Defendants    *
******************************************************************************


                      MEMORANDUM IN SUPPORT OF DEFENDANT’S
                          MOTION FOR RECONSIDERATION


MAY IT PLEASE THE COURT:

           NOW COMES, through undersigned counsel, Defendant, Sheriff Randy Smith, in his

official capacity, who respectfully submit this Memorandum in Support of his Motion for

Reconsideration.

      I.       INTRODUCTION

           In its March 28, 2025 Order on Defendants’ Motions for Summary Judgment, 1 (hereinafter

referred to as the “Order”), the Court correctly dismissed the following claims asserted by the



1
    R. Doc. 457.

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Plaintiffs:

    (1) Plaintiffs’ conditions of confinement claims regarding

              a.   Sanitation;2
              b.   24/7 lighting;3
              c.   Temperature;4
              d.   Blankets;5 and
              e.   Medical treatment.6

    (2) Plaintiffs’ claims regarding exercise on the basis of qualified immunity; 7

    (3) Plaintiffs’ claims regarding sleep/mattresses on the basis of qualified immunity, and on the
        basis that “a reasonable jury could yet conclude that Defendants’ proffered explanations
        for denying Plaintiffs mattresses are related to a legitimate governmental objective”; 8

    (4) All of Plaintiffs’ claims against Sheriff Smith in his individual capacity on the basis of
        qualified immunity;9

    (5) All of Plaintiffs’ claims against Lacey Kelly in her individual capacity on the basis of
        qualified immunity;10 and

    (6) All of Plaintiffs’ claims against Lacey Kelly in her official capacity. 11

         The Court, however, allowed Plaintiffs’ remaining federal claims as it relates to Monell

liability for sleep and exercise, as well as Plaintiffs’ punitive damages claims to survive.

Accordingly, Defendant respectfully submits the foregoing Motion for Reconsideration as to the

Court’s denial of his Motions with regard to: (1) Plaintiffs’ claims for punitive damages, (2)

Plaintiffs’ Monell claims concerning STPJ’s sleep and exercise policies, (3) Mr. Guillot’s failure


2
  See R. Doc. 457, pg. 14.
3
  See R. Doc. 457, pg. 19, note 139.
4
  See R. Doc. 457, pg. 19, note 139.
5
  See R. Doc. 457, pg. 19, note 139.
6
  R. Doc. 457, pgs. 19 – 21.
7
  R. Doc. 457, pg. 23.
8
  R. Doc. 457, pg. 23.
9
  R. Doc. 457, pgs. 22 – 23 and 24.
10
   R. Doc. 457, pgs. 22 – 23 and 24.
11
   R. Doc. 457, pg. 21, fn 153 (“To the extent official capacity claims remain against Kelly and Sheriff Smith, apart
from Sheriff Smith’s legal status as a municipal entity, those claims are dismissed.”)

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to exhaust his administrative remedies, and (4) allowing Plaintiffs’ to assert claims that they have

never pled. Defendant avers that the Court’s ruling is based on both manifest error of law and fact

and warrants reconsideration of the Order. Indeed, as provided below in further detail, the Court

committed clear error in its application of the Monell analysis, and in failing to dismiss Plaintiffs’

Monell claims as to sleep policy despite holding that the policy was related to a legitimate

governmental objective.

     II.      LEGAL STANDARD FOR RECONSIDERATION UNDER RULE 54(b)

           “Since the Federal Rules of Civil Procedure do not specifically recognize a motion for

reconsideration, such motions are treated as either a motion to challenge a judgment or order under

Rule 54(b), 59(e), or 60(b).”12 “While Rules 59 and 60 apply to final judgments only, ‘if a party

seeks reconsideration of an order that adjudicates fewer than all the claims among all the parties

prior to entry of final judgment, then Rule 54(b) controls.’”13

           “Rule 54 provides that district courts ‘possess[ ] the inherent procedural power to

reconsider, rescind, or modify an interlocutory order for cause seen by it to be sufficient.’” 14

“Under such a standard, district courts can be ‘more flexible, reflecting the inherent power of the

rendering district court to afford such relief from interlocutory judgments as justice requires.’” 15

“Though this standard is lower than the threshold used for reconsideration of judgments under

Rule 59, courts still ‘look to similar considerations as those it considers when evaluating Rule

59(e) motions.’”16




12
   Gulf Island Shipyards, LLC v. LaShip, LLC, 2024 WL 1794361, at *3 (E.D. La. 2024), citing Holmes v. Reddoch,
2022 WL 16712872 at *2 (E.D. La. 2022).
13
   Id.
14
   Gulf Island Shipyards, 2024 WL 1794361, at *3, citing Melancon v. Texaco, 659 F.2d 551, 552 (5th Cir. 1981).
15
   Gulf Island Shipyards, citing Austin v. Kroger Tex., L.P., 864 F.3d 326, 336-37 (5th Cir. 2017).
16
   Gulf Island Shipyards, citing Edwards v. Take Fo’ Records, Inc., 2020 WL 3832606 at *11 & n.2 (E.D. La. 2020).

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            In this case, reconsideration is necessary to prevent a manifest error in both law and fact. 17

     III.      LAW AND ARGUMENT

            A. The Court committed manifest error in failing to dismiss plaintiffs’ punitive
               damages claims.

            On May 16, 2024, Defendants filed their Motions for Summary Judgment, seeking

dismissal of, among other claims, Plaintiffs’ claims for punitive damages.18 In its March 28,

2025 Order, the Court dismissed all of the Plaintiffs’ claims against the Defendants in their

individual capacities, finding that the Defendants were entitled to qualified immunity.19 This

Court’s Order, however, failed to dismiss or address Plaintiffs’ punitive damages claims.20

            As this Court is well-aware, the U.S. Supreme Court is clear in that punitive damages are

available only against officers sued in their individual capacities under §1983 if it is shown that a

defendant’s conduct was motivated by evil motive or intent or involves reckless or callous

indifference of the federally protected rights of others. 21 A Section 1983 claim against a Louisiana

sheriff in his official capacity “is ‘in essence’ a suit against a municipality,” 22 and the United States

Supreme Court has held unequivocally that “[a] municipality is immune from liability for punitive

damages in a § 1983 action.”23 “It is well settled that municipalities are not subject to the

imposition of punitive damages under Section 1983.”24 Furthermore, “[i]t is equally well settled

that a suit against a municipal official in his or her official capacity is simply another way of


17
   Gulf Island Shipyards, LLC, citing Henry v. New Orleans La. Saints, L.L.C., 2016 WL 3524107, at *2 (E.D. La.
2016) and Fields v. Pool Offshore, Inc., 1998 WL 43217, at *2 (E.D. La. 1998).
18
   See R. Docs. 387, 388, 390, 391 & 392.
19
   See R. Doc. 457, pgs. 22 – 23.
20
   Id.
21
   Smith v. Wade, 461 U.S. 30, 56 (1983); Kolstad v. ADA, 527 U.S. 526 (1999); Simmons v. City of Mamou, 2009 WL
3294977 (W.D. La. 2009).
22
   Brown v. Strain, 663 F.3d 245, 251 (5th Cir. 2011) (citing Woodard v. Andrus, 419 F.3d 348, 352 (5th Cir. 2005));
Williams v. Gusman, 2015 U.S. Dist. LEXIS 96868 (E.D. La. 2015); See also Bouchereau v. Gautreaux, 2015 U.S.
Dist. LEXIS 121225 (M.D. La. 2015); Jordan v. Prator, 2013 U.S. Dist. LEXIS 114389 (W.D. La. 2013).
23
   City of Newport v. Fact Concerts, Inc., 453 U.S. 247, 270-71 (1981).
24
   Howell v. Town of Ball, 2012 U.S. Dist. LEXIS 128433 (W.D. La. 2012) (citing Cook, 538 U.S. 119, 123 (2003);
City of Newport, 453 U.S. 247; Webster v. City of Houston, 735 F.2d 838 (5th Cir. 1984)).

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alleging municipal liability.”25

         In this case, the Court committed manifest error in failing to dismiss Plaintiffs’ punitive

damages claims while, at the same time, dismissing Plaintiffs’ individual capacity claims. Indeed,

as of this time, Plaintiffs’ only remaining claims are against Sheriff Smith in his official capacity,

who is “immune from liability for punitive damages in a § 1983 action.” 26 Accordingly, for these

reasons, this Honorable Court must dismiss Plaintiffs’ punitive damages claims.

         B. The sheriff is statutorily obligated to house federal detainees/prisoners

         Throughout its Order, the Court notes that the STPJ voluntarily entered into contracts to

house federal and state inmates, in addition to the pretrial detainees it is required by Louisiana

law to house.27 Indeed, the Court, in denying Defendants’ Motions for Summary Judgment as to

the official capacity claims against Sheriff Smith, specifically held that the moving force for

overcrowding and lack of mattresses for pretrial detainees was the STPJ’s decision to enter into

contracts with the federal government:

             “The Court recognizes that Defendants’ concern for commingling pretrial
             detainees and convicted inmates is certainly plausible, but a reasonable jury
             could nonetheless attribute this predicament to STPJ’s decision to dedicate a
             significant portion of its facilities to housing federal and state convicted
             inmates or failing to properly allocate its resources to ensure that it complies
             with its baseline constitutional obligations.”28

         In reaching this conclusion, however, the Court has confused the issues. Under Louisiana

law the Sheriff is required to house federal detainees/inmates. Indeed, the actions of the STPJ

in entering into contracts with the appropriate federal entities, i.e., the U.S. Marshal’s Office, is




25
   Howell, 2012 U.S. Dist. LEXIS 128433 (citing Monell, 436 U.S. 658 (1978)).
26
   City of Newport, 453 U.S. 247, 270-71.
27
   See R. Doc. 457, pg. 3.
28
   See R. Doc. 457, pg. 18; See also pg. 19, providing “a reasonable jury could infer that this explanation traces its
source to STPJ’s contracts to hold state and federal inmates, which uses up considerable bed space in STPJ and, as
discussed above, is a voluntary obligation unrelated to STPJ’s foundational purpose—housing pretrial detainees.”

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to recover reimbursement for the mandatory housing of these individuals. As this Court is

surely aware, La. R.S. 15:707 specifically mandates that the STPJ accept federal

inmates/detainees, under threat of legal action by the state of Louisiana, providing:

                    All the sheriffs, jailers, prison keepers, and their deputies to whom any
                    person shall be sent or committed by United States marshals or their
                    deputies, under the authority of the United States, whether on civil or
                    criminal process, or upon any process or warrant which may be issued by
                    the President of the United States, or those to whom he may delegate
                    authority for any cause whatever under the law of the United States, shall
                    take the prisoners into custody and keep them safely until their
                    discharge by due course of law.

                    Any sheriff, jailer or prison keeper violating this Section shall be liable
                    to the same penalties and the parties aggrieved shall be entitled to the
                    same remedies as if the prisoners had been committed to their custody by
                    virtue of legal process issued under the authority of Louisiana.

                    The sheriffs or jailers may contract with the U.S. Marshal of his district
                    for the payment of a minimum rate of one dollar per day for the keeping
                    of each federal prisoner. The sheriffs may use the funds for the proper care
                    and safekeeping of the federal prisoners and to pay any expenses incurred
                    in connection with their office or jail. (emphasis added).

           As clearly provided above, under La. R.S. 15:707, the STPJ is legally mandated to take

in federal inmates/detainees, and failure to do so will result in legal action against the STPJ by

the state of Louisiana. Indeed, under Louisiana law, the inclusion of the word “shall” within La.

R.S. 15:707 provides that adherence to this statute is mandatory,29 leaving the STPJ with no

choice in the matter. The mandatory provisions of La. R.S. 15:707 are further reinforced by the

opinion of the Louisiana Attorney General, which provides that “LSA-R.S. 15:707 mandates that

sheriffs ‘shall’ take federal prisoners into custody and keep them until their discharge.”30

           Additionally, as La. R.S. 15:707 indicates, the Sheriff has the authority to enter into

contracts with the U.S. Marshal for payment for keeping federal prisoners, which he is statutorily


29
     See La. R.S. 1:3; See also La. C.C.P. Art. 5053.
30
     La. Atty. Gen. Op. No. 89-15, 1989 WL 454254.

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mandated to take.31 This statutory provision is also supported by the Attorney General’s Office,

which has opined that La. R.S. 15:707 “allows a sheriff to contract with the federal government

for compensation for the keeping of such prisoners.”32

        Accordingly, the STPJ is statutorily obligated to take federal inmates/detainees in

accordance with La. R.S. 15:707. In this case, the record clearly provides that in accordance with

this statutory obligation, the STPJ has entered into a contractual agreement with the Marshal’s

office in order to be reimbursed for being obligated to hold these individuals, in accordance with

the specific legal mandates of La. R.S. 15:707.33

        Despite the STPJ’s clear statutory obligation to hold these federal inmates/detainees – or

face legal consequences by the state of Louisiana – this Court’s Order seeks to hold Sheriff Smith

liable for complying with those obligations. In light of the foregoing statute, the entire basis for

the denial of summary judgment as to Plaintiff’s Monell claims appears to challenge the fact that

the STPJ is adhering to the laws of the state of Louisiana in being forced to house and provide

beds for federal inmates/detainees and entering into contractual arrangements with the Marshal’s

Office in order to receive compensation. In short, the Court is allowing the Plaintiffs to continue

to pursue Monell claims against Sheriff Smith based on his adherence to Louisiana law.

        However, as noted by the U.S. Supreme Court, Congress did not intend to impose liability

on a municipality unless deliberate action attributable to the municipality itself is the “moving

force” behind the plaintiff's deprivation of federal rights.34 To this point, the Fifth Circuit has

long recognized that simply following the mandatory dictates of state law cannot form a




31
   See La. R.S. 15:707.
32
   La. Atty. Gen. Op. No. 89-15, 1989 WL 454254.
33
   See R. Docs. 392-11 & 392.13.
34
   Board of County Com’rs of Bryan County, Okl. v. Brown, 520 U.S. 397 (1997), citing Monell v. New York City
Dept. of Social Servs., 436 U.S. 658, 694 (1978).

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predicate for Monell liability.35 Indeed, a plaintiff who wants a judgment against the municipality

under that statute must be able to trace the action of the employees who actually injured him to

a policy or other action of the municipality itself.36 When the municipality is acting under

compulsion of state or federal law, it is the policy contained in that state or federal law, rather

than anything devised or adopted by the municipality, that is responsible for the injury.37

Accordingly, the Sheriff’s adherence to mandatory state law, which he has no discretion or

control over, and which is therefore not attributable to the Sheriff as the municipality, cannot

form the basis of Monell liability.

         Indeed, Sheriff Smith cannot be liable for violating a provision of the Louisiana

Administrative Code (“LAC”),38 which is not law, through adherence to mandatory statutory

law, especially when considering that the Louisiana Supreme Court has specifically held that the

LAC does not take precedence over the Louisiana Revised Statutes,39 and this Circuit has held

that a violation of a state administrative code is not a basis for federal relief.40

          Sheriff Smith further notes that the U.S. Supreme Court has specifically held that

“municipal liability under § 1983 attaches where—and only where—a deliberate choice to



35
   West v. Congemi, 28 F.2d 385 (E.D. La. 1998) (“The Fifth Circuit has long recognized that simply following the
mandatory dictates of state law cannot form a predicate for Monell liability. This point was explained in Bigford v.
Taylor, 834 F.2d 1213, 1222 (5th Cir.1988), when the Fifth Circuit stated that a county official's “deliberate or
mistaken departure from controlling law” cannot be said to represent county policy. See also West, citing Bethesda
Lutheran Homes and Svcs. Inc. v. Leean, 154 F.3d 716, 718–719 (7th Cir.1998) (“But the state of mind of local
officials who enforce or comply with state or federal regulations is immaterial to whether the local government is
violating the Constitution if the local officials could not act otherwise without violating state or federal law. The
spirit, the mindset, the joy or grief of local officials has no consequences for the plaintiffs if these officials have no
discretion that they could exercise in the plaintiffs' favor. ‘[M]unicipal liability under § 1983 attaches where—and
only where—a deliberate choice to follow a course of action is made from among various alternatives.’”) (quoting
Pembaur v. City of Cincinnati, 475 U.S. 469, 483 (1986).
36
   Bethesda Lutheran Homes and Services, Inc. v. Leean, 154 F.3d 716 (7th Cir. 1998).
37
   Bethesda Lutheran Homes and Services, Inc, 154 F.3d 716.
38
   Title 22, part III § 3301(F).
39
   Jenkins v. AIU Ins. Co. People Ready Temp Serv., 343 So. 3d 927 (La. App. 5 Cir. 2022), citing Jurisich v.
Jenkins, 749 So. 2d 597, 602 (La. 1999).
40
   Dickinson, 2022 WL 17069898 (W.D. La. 2022), citing Tweedy, 1993 WL 4507 (5th Cir. 1993); (quoting Smith
v. Sullivan, 611 F.2d 1039, 1045 (5th Cir. 1980) (internal quotations omitted); Allen, 2018 WL 558503.

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follow a course of action is made from among various alternatives”,41 and in this case, no such

alternatives exist, as the only other option for the STPJ was to refuse all federal inmates/detainees

and face legal action by the state of Louisiana for violating La. R.S. 15:707. Such an option

clearly indicates that the Sheriff has no other viable alternatives as it relates to the holding of

federal inmates/detainees. Accordingly, this Court erred in holding that the STPJ voluntarily

accepted federal inmates/detainees when the law clearly provides that the STPJ is statutorily

obligated to do so. Therefore, Plaintiffs’ remaining Monell claims cannot continue and must

therefore be dismissed, as Sheriff Smith cannot be held liable for adhering to Louisiana statutory

law which is not attributable to the Sheriff, but instead, to the legislature.

           C. Plaintiffs’ Monell claims must be dismissed.

                    a. Plaintiffs’ Monell claims cannot exist without a constitutional violation.

           In this case, the Court correctly stated the legal standard for Monell claims, which places

the burden on the plaintiff to show all three elements: “(1) an official policy (or custom), of which

(2) a policymaker can be charged with actual or constructive knowledge, and (3) a constitutional

violation whose ‘moving force’ is that policy or custom.” 42 Yet, the Court’s conclusion—that

Sheriff Smith’s knowledge about overcrowding, the policy of not providing mattresses in holding

cells, and the lack of opportunity for exercise is sufficient for Plaintiffs to survive summary

judgment—is clearly erroneous.

           Sheriff Smith respectfully submits that the Court overlooked the third essential element of

Monell liability, i.e., the existence of an underlying constitutional violation. Indeed, it is well

established that to recover against a municipality under § 1983, a plaintiff must “allege and

establish that he sustained a deprivation of a constitutional or other federally protected right


41
     Pembaur, 475 U.S. 469, 483 (1986).
42
     Valle v. City of Houston, 613 F.3d 536, 541–42 (5th Cir.2010).

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because of some official policy, practice, or custom of that governmental entity.”43 As reiterated

by the Fifth Circuit just last month, “without a predicate constitutional violation, there can be no

Monell liability.”44 Under the established jurisprudence in the Fifth Circuit, neither overcrowding,

nor the failure to provide detainees with mattresses, nor the failure to provide them with an

opportunity to exercise, violates the Constitution.

         Indeed, absent some indication of punitive intent, the mere overcrowding of a jail does not

violate the Fourteenth Amendment.45 Here, as this Court previously found when denying

Plaintiffs’ Motion for Preliminary Injunction46 – and reaffirmed in the Order – there is no evidence

of punitive intent.47

                          i. No constitutional violation for sleep/mattresses or exercise.

         At the outset, Defendant again reiterates that the Supreme Court and this Circuit have

consistently held that overcrowding of holding cells does not present a legally cognizable claim. 48

Indeed, while overcrowding may give rise to unconstitutional conditions, overcrowding itself is

not per se unconstitutional.49 Defendant additionally notes that the Fifth Circuit has dismissed

claims by pretrial detainees for lack of recreation/exercise, holding that such a claim, even if true,

is de minimis under the U.S. Supreme Court’s holding in Bell50 and does not rise to the level of a



43
   Christopher Rusanowsky v. The City of Dallas, 2025 WL 855317 (5th Cir. 2025), citing Grisham v. Valenciano,
93 F.4th 903, 912 (5th Cir. 2024) (citing Monell, 436 U.S. 658, 691–94).
44
   Christopher Rusanowsky, 2025 WL 855317; Loftin v. City of Prentiss, Mississippi, 33F. 4th 774 (5th Cir. 2022),
citing Garza v. Escobar, 972 F.3d 721, 734 (5th Cir. 2020) (citing Hicks-Fields v. Harris Cnty., 860 F.3d 803, 808
(5th Cir. 2017)).
45
   R. Doc. 40, pg. 31, citing Rhodes, 452 U.S. 337, 347-50 (1981); Collins, 382 F.3d 529, 540; Chavera, 2009 U.S.
Dist. LEXIS 32177; Crook, 2008 U.S. Dist. LEXIS 122; Robertson, 2008 U.S. Dist. LEXIS 61160.
46
   R. Doc. 40, pgs. 31 – 32.
47
   R. Doc. 457, pg. 15.
48
   Rhodes, 452 U.S. 337, 347-50; Castillo, 238 F.3d 339, 354 ("overcrowding itself is not per se unconstitutional.");
Collins, 382 F.3d 529, 540; Chavera, 2009 U.S. Dist. LEXIS 32177; Crook, 2008 U.S. Dist. LEXIS 122; Robertson,
2008 U.S. Dist. LEXIS 61160; Kelly, 2007 U.S. Dist. LEXIS 99098; Maddox, 2015 U.S. Dist. LEXIS 34318; Williams,
2015 U.S. Dist. LEXIS 139811.
49
   Castillo, 238 F.3d 339, 354, citing Rhodes, 452 U.S. 337, 347-50.
50
   Bell v. Wolfish, 441 U.S. 520.

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constitutional claim.51 Notably, the Fifth Circuit has consistently dismissed claims brought by

pretrial detainees regarding jail policies of exercise/recreation, holding that such claims do not rise

to the level of constitutional violations.52 Further, to succeed in a §1983 claim for lack of exercise

opportunities, a plaintiff must show he suffered a serious physical health injury due to the denial

of movement, as a conditions of confinement claim only becomes a constitutional violation if it

leads to significant harm.53 As this Court is aware, Plaintiffs have presented no evidence of any

harm resulting from the STPJ’s exercise policy.

         Defendant further reiterates that the provision of bedding is within the sound discretion of

prison administrators, which the judiciary is ill equipped to micro-manage, and the failure to

provide bedding does not establish a constitutional violation.54 Indeed, just ten (10) days prior to

this Court’s Order, another division of this Court, in Beckendorf v. Fleischman, dismissed a pretrial

detainee’s claim of lack of mattress/bedding in the holding cells with prejudice, noting that the

plaintiff failed to assert a viable constitutional claim, as failure to provide a mattress/bedding in a

holding cell is not a constitutional violation.55

         As this Court is aware, qualified immunity “shields government agents from liability for

civil damages insofar as their conduct does not violate clearly established statutory or

constitutional rights of which a reasonable person would have known.” 56 In this case, the Court


51
   Hamilton v. Lyons, 74 F.3d 99, 106 (5th Cir.1996).
52
   Mahmoud v. Bowie, 234 F.3d 29 (5th Cir. 2000); Jane Doe 5 v. City of Haltom City, 106 Fed. Appx. 906 (5th Cir.
2004); Soto v. City of Haltom City, 106 Fed. Appx. 903 (5th Cir. 2004); Garcia Guevara v. City of Haltom City, 106
Fed. Appx. 900 (5th Cir. 2004); Howard-Barrows v. City of Haltom City, 106 Fed. Appx. 912 (5th Cir. 2004).
53
   Beckendorf v. Fleischman, 2025 WL 842970, at *3 (E.D. La. 2025), citing Strickler v. Waters, 989 F.2d 1375, 1381
(4th Cir. 1993); See also, Hawkins v. Ledet, 2025 WL 487193 (E.D. La. 2025); 42 U.S.C. § 1997e(e).
54
   McAllister, 2009 WL 500560; Desroche, 507 F. Supp. 2d 571; Walton, 2012 WL 3947629; Hill, 2020 WL 2226316.
55
   Beckendorf , 2025 WL 842970, citing Hill, 2020 WL 2226316 (detainee's 18 day confinement at STPJ without a
bed or mattress not a constitutional claim), adopted, 2020 WL 2226316; Terry, 2020 WL 13788378 (detainee's 17 day
confinement in holding cell not a constitutional violation), adopted, 2021 WL 242870; Allen, 2018 WL 558503
(detainee's 15 day confinement without a mattress in the STPJ holding cells was too brief a period to support a
constitutional claim), adopted, 2018 WL 537495; McClay, 2012 WL 3438367 (17 days without a mattress), adopted,
2012 WL 3481899; Sykes, 2011 WL 3425616 (16 days without a mat), adopted, 2011 WL 3420854.
56
   Whitney v. Hanna, 726 F.3d 631, 638 (5th Cir. 2013) (citations omitted).

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dismissed all of Plaintiffs’ individual capacity claims on the basis of qualified immunity,

specifically holding that with regard to sleep and exercise:

           “the lack of clear authority from the Supreme Court or Fifth Circuit mandates the
           application of qualified immunity. The Fifth Circuit in Mayfield and Hebert
           recognized pretrial detainees need sleep and recreation, like any person. But neither
           of those cases, nor any Fifth Circuit case since, provide sufficient guidance for a
           jail official to recognize the constitutional boundaries of those rights.” 57

           As provided above, this Court’s own holding clearly provides that no constitutional claim

exists as it relates to Plaintiffs’ claims relating to sleep and exercise. Indeed, the Court’s granting

of qualified immunity as it relates to sleep and exercise is based on the fact that the Court has held

that the alleged rights were not clearly established constitutional rights. Accordingly, this holding

is fatal to Plaintiffs’ Monell liability claim, which requires the Plaintiffs to establish a violation of

their constitutional rights.

            In dealing with similar situations where courts have dismissed individual capacity claims

on the basis of qualified immunity and for lack of a constitutional violation, the Fifth Circuit has

specifically held that the dismissal of the Monell claim must also be dismissed for failure to identify

a clearly established constitutional violation.

           For example, just three (3) weeks ago, the Fifth Circuit, in Rusanowsky v. The City of

Dallas, dismissed the plaintiff’s Monell claims on the basis that the defendant was entitled to

qualified immunity, holding, in pertinent part:

           Because Sergeant Rudloff is entitled to qualified immunity, Rusanowsky cannot
           show he suffered constitutional violations from his arrest. Therefore, the
           municipal liability claims against the City of Dallas cannot proceed.58

           In Sanchez v. Edwards, the Fifth Circuit affirmed the district court’s granting of qualified

immunity to the deputies, and further affirmed the denial of the plaintiff’s Monell claims, noting


57
     See R. Doc. 457, pg. 23.
58
     Rusanowsky v. The City of Dallas, 2025 WL 855317 (5th Cir. 2025).

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that the plaintiff had failed to establish an underlying constitutional violation, providing:

         The plaintiffs also bring municipal-liability claims under § 1983 against Sheriff
         Edwards and Hammond City. To succeed on such a claim, the plaintiffs must show
         an underlying constitutional violation resulting from an official policy. Monell v.
         Dep't of Soc. Serv., 436 U.S. 658, 694, 98 S.Ct. 2018, 56 L.Ed.2d 611 (1978). As
         the plaintiffs are unable to show an underlying constitutional violation, they have
         failed to meet their burden under the Monell standard. 59

         Similarly, in Fortune v. McGee, the Fifth Circuit affirmed the district court’s dismissal of

the plaintiff’s individual capacity claims against the defendants, and further affirmed the dismissal

of the Monell claims, holding that “[b]ecause there was no constitutional violation, the plaintiff's

claim against the county was properly dismissed.”60

         As provided both above and within this Court’s Order, 61 because no constitutional claim

exists as to Plaintiffs’ claims for sleep and exercise, Monell liability based on those claims cannot

exist.

         Defendant further notes that if there is no clear authority from the Supreme Court or Fifth

Circuit with regard to Plaintiffs’ claims of sleep and exercise, and if there is not sufficient guidance

from the Fifth Circuit for a jail official to be able to recognize the constitutional boundaries as to

Plaintiffs’ claims of sleep and exercise, as this Court held,62 then, as a practical matter, there can

be no Monell claim. Indeed, if the constitutional rights are not clearly recognized and/or outlined

by the Supreme Court or Fifth Circuit, then the Defendant cannot be found liable for failing to

protect those same undefined, unrecognized and un-outlined rights through implementation of

some policy. For example, without any specific guidance from the Supreme Court or Fifth Circuit,

the Defendant has no notice as to what specific policy and/or training must be implemented in



59
   Sanchez v. Edwards, 433 Fed. Appx. 272 (5th Cir. 2011).
60
   Fortune v. McGee, 606 F. App'x 741 (5th Cir. 2015)
61
   See R. Doc. 457, pg. 23.
62
   See R. Doc. 457, pg. 23.

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order to protect these rights.

                              a. Defendant has provided sufficient reasons for the existence of
                                 these conditions/policies.

         Constitutional attacks on general conditions, practices, rules, or restrictions, otherwise

known as jail condition cases, are subject to the Bell test which is premised on a reasonable

relationship between the condition, practice, rule, or restriction and a legitimate governmental

interest.63 To pass constitutional muster, the challenged jail policy or practice must be reasonably

related to a legitimate governmental interest.64

         As noted by the U.S. Supreme Court, “[i]n considering whether a specific practice or policy

is “reasonably related” to security interests, courts should play a very limited role, since such

considerations are peculiarly within the province and professional expertise of corrections

officials.”65 “[I]f a particular condition or restriction of pretrial detention is reasonably related to a

legitimate governmental objective, it does not, without more, amount to ‘punishment.’” 66

“Conversely, if a restriction or condition is not reasonably related to a legitimate goal—if it is

arbitrary or purposeless—a court permissibly may infer that the purpose of the governmental

action is punishment that may not constitutionally be inflicted upon detainees qua detainees.”67

         “Simply because prison inmates retain certain constitutional rights does not mean that

these rights are not subject to restrictions and limitations.” 68 “Lawful incarceration brings about

the necessary withdrawal or limitation of many privileges and rights, a retraction justified by the

considerations underlying our penal system.” 69 The fact of confinement as well as the legitimate


63
   Thornhill v. Breazeale, 88 F.Supp. 2d 647 (S.D. Ms. 2000), citing Hare v. City of Corinth, Miss, 74 F.3d 633,
644 (5th Cir. 1996).
64
   Thornhill, 88 F.Supp. 2d 647, citing Hare, 74 F.3d 633 at 642.
65
   Block v. Rutherford, 468 U.S. 576 (1984), citing Bell, 441 U.S. 520, 540-541.
66
   Block, 468 U.S. 576.
67
   Block, 468 U.S. 576.
68
   Bell, 441 U.S. at 545-546.
69
   Id.

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goals and policies of the penal institution limits these retained constitutional rights.” 70 “The

institution must be permitted to use reasonable means to insure that its legitimate interests in

security are safeguarded.”71 Indeed, “maintaining institutional security and preserving internal

order and discipline are essential goals that may require limitation or retraction of the retained

constitutional rights of both convicted prisoners and pretrial detainees.” 72 Central to all other

corrections goals is the institutional consideration of internal security within the corrections

facilities themselves. Prison officials must be free to take appropriate action to ensure the safety

of inmates and corrections personnel and to prevent escape or unauthorized entry.” 73

         With regard to determining whether a specific restriction is reasonably related to security

interests, the U.S. Supreme Court has specifically noted that courts should play a very limited role

in the administration of detention facilities, providing that courts should:

         heed our warning that ‘[s]uch considerations are peculiarly within the province and
         professional expertise of corrections officials, and, in the absence of substantial
         evidence in the record to indicate that the officials have exaggerated their response
         to these considerations courts should ordinarily defer to their expert judgment in
         such matters.74

         The Supreme Court has also cautioned that “prison administrators [are to be] accorded

wide-ranging deference in the adoption and execution of policies and practices that in their

judgment are needed to preserve internal order and discipline and to maintain institutional

security.”75 The Supreme Court has further noted that there is no dispute that internal security of

detention facilities is a legitimate governmental interest. 76


70
   Bell, 441 U.S. 520, 545–46.
71
   Id. at 441 U.S. 520, 544. (emphasis added).
72
   Id. at 546–47.
73
   Id.
74
   Block, 468 U.S. 576, citing Bell, at 540–541, n. 23 (quoting Pell v. Procunier, 417 U.S. 817, 827 (1974)).
75
   Block, 468 U.S. 576, citing Bell at 547.
76
   Block, 468 U.S. 576, fn 8, (“In Wolfish itself, we characterized the maintenance of security, internal order, and
discipline as “essential goals,” which at times require the “limitation or retraction of...retained constitutional rights.”
441 U.S., at 546, 99 S.Ct., at 1878. Government, we said, “must be able to take steps to maintain security and order

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                                               i.       Mattress/Bedding Policy (Sleep)

         As noted above, the STPJ is statutorily obligated to hold federal detainees/inmates in

accordance with La. R.S. 15:707 and can only procure compensation from these federal entities

by entering into contractual agreements with the U.S. Marshals Service, which the Sheriff has

done.77 Under this statutory arrangement, the STPJ is required to provide 180 total beds for its

detainees, as well as detainees for the U.S. Marshals Service, the Bureau of Prisons (“BOP”) and

U.S. Immigration and Customs Enforcement agency (“ICE”). 78 The terms of this agreement clearly

states that the beds are reserved for only federal inmates/detainees. 79

         In this case, none of the Plaintiffs fall within this specifically designated, statutorily -

required population for which the STPJ has entered into in order to receive compensation, and

therefore the Plaintiffs cannot be housed with those federal detainees.

         Sheriff Smith further notes that if he were to place the Plaintiffs in areas with open beds

that house either state/parish inmates and/or federal inmates, that he would be liable for violating

the Plaintiff’s constitutional rights.80 Indeed, the Fifth Circuit has specifically held that housing

pretrial detainees with convicted inmates is a violation of their rights, 81 and that a constitutional

violation exists when no classification system is in place to separate pretrial detainees and

convicted inmates/detainees.82

         Additionally, this Court has continually held that “[t]he general policy favoring such status-

based segregation is to protect the pretrial detainees from the perhaps more dangerous convicted


at [an] institution and make certain no weapons or illicit drugs reach detainees.” Id., at 540, 99 S.Ct., at 1874. See also
Pell v. Procunier, 417 U.S. 817, 823 (1974))”
77
   See R. Docs. 392-11 & 392.13.
78
   Id.
79
   Id. at pg. 3.
80
   Jones v. Dallas Cnty., 2022 WL 3334493 (5th Cir. 2022), citing Jones v. Diamond, 636 F.2d 1364 (5th Cir. 1981);
See also Alderson v. Concordia Parish Corr. Facility, 848 F.3d 415 (5th Cir. 2017).
81
   Id.
82
   Pembroke v. Wood County, 981 F.2d 225, 229 (5th Cir. 1993).

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inmates,”83 which is exactly the reason why the STPJ employs such a classification system, and

which this Court acknowledged is a concern. 84 Indeed, Warden Fleischman testified that moving

pre-trial detainees who have not been convicted into a dorm with an open bed that houses either

convicted Department of Corrections (“DOC”) felons or federal inmates/detainees would put the

pre-trial detainee into more danger than sleeping on a cement bench, as those DOC and federal

inmates/detainees are more dangerous and violent. 85 Warden Fleischman further testified that

detainees of the Marshals Service, which the STPJ is obligated to house in accordance with La.

R.S. 15:707, are never comingled with pre-trial detainees because: (1) the Marshal Service does

not allow them comingled, and (2) because those federal detainees are more dangerous than pre-

trial detainees.86

         As noted by Lacey Kelly, placement in a holding cell is for a temporary basis, not long

term, and not done to “[try] to punish or hurt people,” 87 and therefore beds are not provided.

Additionally, as noted by Warden Fleischman, it would be physically impossible to place a

mattress or bed in the holding cell for each pretrial detainee due to lack of space within the cells

to accommodate them.88 Furthermore, placing mattresses or beds into the holding cells would

further reduce the available space. 89 Placing mattresses or beds into the holding cells would also

force the pre-trial detainees to navigate over them and cause more issues. 90

         As noted above, “municipal liability under § 1983 attaches where—and only where—a



83
   Lathers v. Nelson Coleman Corr. Ctr., 2010 U.S. Dist. LEXIS 36357 (E.D. La. 2010); Davis v. St. Charles Parish
Corr. Ctr., 2010 U.S. Dist. LEXIS 20651; Diggs v. Nelson Coleman Corr. Ctr., 2010 U.S. Dist. LEXIS 25159 (E.D.
La. 2010); McFarland v. Nelson Coleman Corr. Ctr., 2010 U.S. Dist. LEXIS 86783 (E.D. La. 2010).
84
   See R. Doc. 457, 18.
85
   See R. Doc. 387-10, pgs. 95 – 96, lines 13 – 4; pgs. 66 – 67, lines 19 – 21.
86
   Id. at pgs. 95 – 96, lines 13 – 4.
87
   See R. Doc. 381-8, pgs. 13-14, lines 24 – 8; pg. 15, lines 1 – 12; pg. 27, lines 10 – 14; pgs. 108 – 110, lines 21 – 6.
88
   See R. Doc. 392-3, pg. 24, citing R. Doc. 387-10 at pg. 41, lines 10 – 14 and pg. 105, lines 12 – 23.
89
   Id. at pg. 105, lines 9 – 21.
90
   Id. at pg. 105, lines 20 – 23.

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deliberate choice to follow a course of action is made from among various alternatives.”91 In this

case, the only “alternative” that exists for the Sheriff to select from as it relates to the

sleep/mattress policy would: (1) violate the constitutional rights of pretrial detainees by housing

them with DOC felons and federal inmates/detainees; 92 (2) place pretrial detainees, who have not

been convicted of any crime, in danger by housing them with violent and dangerous DOC felons

and federal inmates/detainees; (3) violate Louisiana law (La. R.S. 15:707) by refusing to take

federal inmates/detainees; and (4) violate the contractual agreements entered into with the U.S.

Marshal’s office in accordance with La. R.S. 15:707, by placing pretrial detainees in beds

specifically reserved for federal inmates/detainees.93

         Accordingly, because there are no legal or safe alternatives for providing mattresses or

bedding to pretrial detainees, or for housing them with DOC felons or federal inmates, the Sheriff

cannot be held liable under Monell for any deliberate action or decision in this matter.

                                           ii.     Exercise/Recreation policy

         Sheriff Smith has established a legitimate governmental interest in temporarily not

affording Plaintiffs the opportunity to exercise outdoors, in a dayroom, or in a gymnasium while

they are held in a holding cell. Indeed, Plaintiffs, during their short-term detainment in the holding

cells, were not permitted to enter other parts of the facility in order to avoid being comingled with

convicted inmates, a measure taken for legitimate security and safety reasons, as pretrial detainees

have not been convicted, and are therefore kept separate from both convicted DOC felons and

federal inmates/detainees for their own safety (as DOC felons and federal inmates/detainees are

more dangerous and violent).94


91
   Pembaur, 475 U.S. 469, 483 (1986).
92
   Jones, 2022 WL 3334493, citing Jones, 636 F.2d 1364; Alderson, 848 F.3d 415.
93
   Jones, 2022 WL 3334493, citing Jones, 636 F.2d 1364; Alderson, 848 F.3d 415.
94
   R. Doc. 387-10, pgs. 95 – 96, lines 13 – 4; pgs. 66 – 67, lines 19 – 21.

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         Further, as pretrial detainees in the holding cells, Plaintiffs did not have access to outdoor

recreation, a dayroom, or a gymnasium in order to prevent interaction with sentenced prisoners.

This placement was not punitive in nature, as pretrial detainees are provided recreation as soon as

they are moved from the holding cells into permanent housing in the jail when a bed is available. 95

Instead, this placement was the result of a protective measure, due to the violent nature of both

convicted DOC felons and federal inmates/detainees.

         Lacey Kelly also noted that overall manpower within the STPJ is a key factor that dictates

numerous actions, including how, when and why inmates are moved around the facility. 96 Lacey

Kelly further testified that the STPJ has always had an issue with being shorthanded, and that

moving inmates/detainees throughout the jail requires sufficient staffing. 97 Indeed, lack of

appropriate staffing to move individuals, including moving those from holding cells to recreation

and back, without appropriate staffing, would result in serious and significant security concerns

for the STPJ and the prison’s population as a whole.

         Accordingly, as indicated above, there are numerous valid reasons, which are out of the

STPJ’s control, as to why the crowding level exists at the jail, and why the STPJ cannot

house/provide pretrial detainees in areas with open beds that are reserved for parish/state inmates

and/or federal inmates/detainees. Given that Sheriff Smith, as the keeper of STPJ, has an

overriding obligation to preserve order, he must allocate limited resources, including personnel, in

a way that prioritizes institutional safety. This case demonstrates that, despite constrained

resources, STPJ carried out its core function. For these reasons, Plaintiffs’ Monell claims as to

exercise/recreation must be dismissed.



95
   See R. Doc. 387-10 at pg. 103, lines 5 – 9; See also, R. Doc. 392-9, ¶ 10.
96
   See R. Doc. 392-3, pgs. 11 – 12, citing R. Doc. 392-7, pgs. 197-198, lines 22 – 4; pg. 204, lines 1 – 20.
97
   Id. at pgs. 197 – 198, lines 4 – 6.

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                              b. Internal Inconsistency: The Court’s finding of the existence of
                                 a legitimate governmental objective for denying mattresses
                                 mandates dismissal of plaintiffs’ Monell claim.

         As noted above, in order to pass constitutional muster, the challenged jail policy or

practice must be reasonably related to a legitimate governmental interest.98 Indeed, in cases that

are grounded in unconstitutional conditions of confinement, the plaintiff need only show that

such a condition, which is alleged to be the cause of a constitutional violation, has no reasonable

relationship to a legitimate governmental interest.99

         For example, in Anderson v. Marshall County, Miss., the plaintiff asserted a Monell claim

alleging that the Marshall County Jail had a policy of incarcerating inmates in jails that lack both

sufficient medical facilities and access to doctors.100 In reviewing the plaintiff’s claim, the Fifth

Circuit noted that the plaintiff must establish: “(1) a rule or restriction, an intended condition or

practice, or a de facto policy as evidenced by sufficiently extended or pervasive acts of jail

officials, (2) not reasonably related to a legitimate governmental objective, and (3) that violated

[the detainee's] constitutional rights.”101 The Court noted that in order to establish the second

prong, that the plaintiff must show that the jail's lack of on-site medical facilities was not

reasonably related to a legitimate government interest.102 In denying plaintiff’s claim, the

Court found that the Plaintiff presented no evidence that the policy was not reasonably related

to a legitimate government interest, and further noted that the county had provided that the policy

was in place for a legitimate interest in both inmate and fiscal prudence.103

         In this case, in dismissing the Plaintiffs’ individual capacity claims as it relates to the



98
   Thornhill, 88 F.Supp. 2d 647, citing Hare, 74 F.3d 633 at 642.
99
   Duvall v. Dallas County, Tex., 631 F.3d 203 (5th Cir. 2011).
100
    Anderson v. Marshall County, Miss., 637 Fed. Appx. 127 (5th Cir. 2016).
101
    Anderson, 637 Fed. Appx. 127.
102
    Id.
103
    Id.

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lack of mattresses/bedding in the holding cells, the Court held that “a reasonable jury could yet

conclude that Defendants’ proffered explanations for denying Plaintiffs mattresses are related

to a legitimate governmental objective.”104 However, despite finding that the denial of

mattresses was related to a legitimate governmental objective, the Court improperly denied

Sheriff Smith’s Motions as to Monell claims for lack of mattresses/bedding in the holding cells.

           Upon finding that the policy of denying Plaintiffs mattresses was related to a legitimate

governmental objective, the Court should have dismissed Plaintiffs’ individual and official

capacity claims, as no constitutional violation can exist if the policy is related to a legitimate

governmental objective. As noted above, without an underlying constitutional violation,

Plaintiffs’ Monell claim as to lack of mattresses/bedding in the holding cells cannot continue.

Indeed, because the Court found that a legitimate governmental objective for the STPJ’s policy

exists, the Plaintiffs are unable to meet their burden in establishing that no reasonable

relationship to a legitimate governmental interest exists for the policy. Accordingly, the Court’s

Order is internally inconsistent and in error when it: (1) found a legitimate governmental

objective existed for the policy, while at the same time (2) failing to dismiss the Plaintiffs’

Monell claim as to sleep/mattresses.

                                 c. The cases relied upon by the Court do not apply.

                                               i. Mattress/Bedding (Sleep)

           In its Order, this Court cited Hebert v. Maxwell and Martinez v. Harris County Jail, in

support of the assertion that pretrial detainees have a constitutional right to a mattress. 105 However,

neither of these cases stand for the proposition that pretrial detainees have a constitutional right to

a mattress, and as this Court noted, these cases are clearly distinguishable from the facts at issue


104
      See R. Doc. 457, pg. 23. (emphasis added).
105
      See R. Doc. 457, pgs. 18, 23.

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herein. Indeed, the holdings in both Hebert and Martinez are fact-specific, and do not represent

general propositions of law.

         For example, in Hebert, the plaintiff was arrested for criminal trespass by a Concordia

Parish Sheriff’s deputy at the direction of Sheriff Maxwell, who told the deputy to hold Hebert

until they “found out more information.” 106 Hebert was then taken to the parish jail on Saturday

afternoon, where he was provided two bedsheets, two towels, and two hand towels, was permitted

to call his wife, and was placed in a holding cell called the “tank.” 107 Sheriff Maxwell testified that

the “hold” was maintained until they could “find out who [Hebert] was.” 108 Hebert filed suit based

on the conditions of his confinement, which alleged that the cell reeked of human waste which was

strewn across the walls and the floor, that there was no bed but only a hard wooden bench, that the

lights were on 24/7, that he was not permitted to shower or exercise, and that he was not given

soap, toilet paper, toothbrush, or toothpaste until shortly before release. 109 In denying qualified

immunity, the Fifth Circuit noted the fact-specific nature of the case, providing:

        [Hebert] alleges that he was forced to sleep on a wooden plank while the county
        had other cells with mattresses available. The government's stated objective was
        to “find out who [Hebert] was.” In the absence of a compelling governmental
        interest, housing a detainee in a room without sleeping accommodations, when
        other available rooms had sleeping facilities, is enough to survive a summary
        judgment motion based on qualified immunity.110

        As clearly indicated above, the reasons for the Fifth Circuit’s holding in Hebert was fact-

specific, as the Defendant failed to provide a compelling governmental objective/interest in

keeping Hebert in jail over the weekend and housing him alone in a “tank” with no mattress when

other sleeping accommodations were available.


106
    Hebert v. Maxwell, 214 Fed. Appx. 451 (5th Cir. 2007).
107
    Hebert, 214 Fed. Appx. 451.
108
    Id.
109
    Id.
110
    Id. (emphasis added).

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         In Martinez v. Harris County Jail, Martinez, a pretrial detainee, alleged that a month after

he was placed into jail he was separated from the other inmates, denied privileges, and placed into

solitary confinement for a month, where he had no mattress for the first seven days, was allowed

only three showers and suffered a nervous breakdown. 111 The Fifth Circuit reversed the district

court, noting that the record contained no order that Martinez be placed into solitary confinement

and that prison officials provided no reason as to why they chose to segregate Martinez from the

rest of the prison population.112 Accordingly, the Fifth Circuit held that the record failed to

establish any legitimate objective for Martinez’s segregation and therefore the court could not

conclusively say that Martinez was not “punished.”113 Because the Fifth Circuit found that the

conditions could constitute punishment, and there was “nothing in the record, nor any testimony

elicited at the Spears hearing, indicates why prison officials denied Martinez a mattress and

showers,” the Fifth Circuit held that the lack of a mattress could constitute punishment of Martinez

as a pretrial detainee.114

         The facts at issue in this matter are clearly distinguishable from those in Hebert and

Martinez, as Sheriff Smith has provided multiple, compelling governmental objectives/interests

in not providing a mattress to pretrial detainees:

         (1) Placement in a holding cell is for a temporary basis, not long term, and not done to
             “[try] to punish or hurt people”;115

         (2) The STPJ is under a statutory obligation to accept federal inmates/detainees in
             accordance with La. R.S. 15:707;

         (3) If the STPJ houses pretrial detainees with either state/parish inmates and/or federal
             inmates, the STPJ would be liable for violating the constitutional rights of the pretrial


111
    Martinez v. Harris County Jail, 71 F.3d 876 (5th Cir. 1995).
112
    Id.
113
    Id.
114
    Id.
115
    See R. Doc. 381-8, pgs. 13-14, lines 24 – 8; pg. 15, lines 1 – 12; pg. 27, lines 10 – 14; pgs. 108 – 110, lines 21 – 6.

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             detainees;116

        (4) The STPJ would commit a constitutional violation if there was no classification system
            in place to separate pretrial detainees and convicted detainees; 117

        (5) The Marshals Service does not allow the federal detainees/inmates to be comingled
            with state or parish inmates/detainees; 118

        (6) Pretrial detainees have not been convicted, and are therefore kept separate from both
            convicted DOC felons and federal inmates/detainees for their own safety as those DOC
            and federal inmates/detainees are more dangerous and violent; 119

        (7) It would be physically impossible to place a mattress or bed in the holding cell for each
            pretrial detainee due to lack of space within the cells to accommodate them; 120

        (8) Placing mattresses or beds into the holding cells would further reduce the available
            space;121 and

        (9) Placing mattresses or beds into the holding cells would force the pre-trial detainees to
            navigate over them and cause more issues than not having them. 122

        As provide above, the facts in this matter are clearly distinguishable from the cases relied

upon by the Court, as the STPJ has numerous legitimate governmental objectives/interests for its

mattress/bedding policy, any of which mandates dismissal of Plaintiffs’ Monell claims through a

proper application of the Monell analysis.123

                                            ii. Exercise/Recreation

        As previously noted above, in order to succeed in a § 1983 for lack of exercise, a pretrial

detainee must establish an injury. However, the Court, in allowing Plaintiffs’ Monell claim as to

exercise to continue erroneously relied on Scott v. Moore for the proposition that “[i]n many jail


116
    See R. Doc. 392-3, pgs. 24 – 28, citing Jones, 2022 WL 3334493, citing Jones, 636 F.2d 1364; See also Alderson,
848 F.3d 415.
117
    Id. at pg. 25, citing Pembroke, 981 F.2d 225, 229.
118
    See R. Doc. 392-3, pg. 11, citing R. Doc. 387-10, pgs. 95 – 96, lines 13 – 4.
119
    Id., citing R. Doc. 387-10, pgs. 95 – 96, lines 13 – 4; pgs. 66 – 67, lines 19 – 21.
120
    See R. Doc. 392-3, pg. 24, citing R. Doc. 387-10 at pg. 41, lines 10 – 14 and pg. 105, lines 12 – 23.
121
    Id. at pg. 105, lines 9 – 21.
122
    Id. at pg. 105, lines 20 – 23.
123
    Thornhill, 88 F.Supp. 2d 647, citing Hare, 74 F.3d 633 at 642; See also Duvall, 631 F.3d 203 (5th Cir. 2011).;
Anderson v. Marshall County, Miss., 637 Fed. Appx. 127 (5th Cir. 2016).

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condition cases, the conditions themselves constitute the harm.” 124 Indeed, while this statement

appears in Scott, it is not binding authority or related to this matter.

         First, Scott is factually distinguishable. It involved a pretrial detainee who was allegedly

sexually assaulted by a correctional officer. According to the plaintiff in Scott, the assault resulted

from improper staffing procedures that failed to ensure the presence of either a female jail official

or at least two male officials when a female pretrial detainee was in custody. Notably, Scott did

not involve allegations of lack of sleep or exercise.

         Second, Scott is not a case about conditions of confinement. Indeed, the Fifth Circuit

concluded that the case “[did] not "fit well within the conditions-of-confinement category and, in

fact, bears a closer resemblance to cases regarding episodic acts by prison employees." 125

         Additionally, while the Scott court did note that “in many jail condition cases, the

conditions themselves constitute the harm—for example, where inadequate food, heating, or

sanitary conditions themselves constitute miserable conditions” 126—this statement is dicta and

does not support a broad proposition applicable to the present case. Indeed, the Scott court did not

analyze the elements of a conditions of confinement claim or the caselaw addressing the requisite

showing of harm. Instead, the court cursorily noted the distinction between conditions of

confinement claims and those involving episodic acts but ultimately focused its analysis on the

latter. Notably, the statement has been cited by courts as a “screening test” to distinguish

conditions of confinement cases from claims based on episodic acts or omissions, with most courts

applying the test concluding that the claims before them involved episodic acts or omissions by

specific jail officials, and therefore did not require a detailed analysis of the elements of a



124
    Scott v. Moore 114 F.3d 51, 53 (5th Cir. 1997).
125
    Scott, 114 F.3d 51, 54.
126
    Id. at 53.

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conditions of confinement cause of action nor constitute a Monell claim against a municipality.127

         Accordingly, Plaintiffs’ claims related to lack of opportunity to exercise outside the holding

depends on showing of adverse physical health injury. Since none of the Plaintiffs suffered such

injury, Plaintiffs’ Monell claim should be dismissed for this additional reason.

         Defendant further notes that the Court’s reliance on McCord v. Maggio is misplaced. This

is especially true considering the Fifth Circuit has consistently dismissed claims by pretrial

detainees for lack of recreation/exercise, holding that such claims are de minimis and do not rise

to the level of a constitutional claim,128 and that since temporarily restricting Plaintiffs from

exercising outdoors or accessing a dayroom or gymnasium served a legitimate governmental

purpose—namely, the safety of both Plaintiffs and the broader prison population—no

constitutional violation occurred. Accordingly, the Court’s reliance on McCord v. Maggio and its

remarks regarding the lack of funding not being a justification for the neglect of citizens’

constitutional rights129 are misplaced.

         Indeed, McCord v. Maggio is inapposite to the present case, as it involved clear and

egregious constitutional violations of the plaintiff’s Eighth Amendment rights. Unlike the

Plaintiffs in the foregoing matter, the plaintiff in McCord was an inmate who was subjected to

intolerable and deplorable conditions while held in solitary confinement. 130 He “lived in roach-




127
    Mathis v. Cotton, 1997 WL 457514 (N.D. Tx. 1997) (“The recent en banc opinion in Scott v. Moore, however,
makes clear that lawsuits of this type must be considered as stating episodic-acts claims.); Nazerzadeh v. Harris Cnty.,
2010 WL 3817149 (S.D. Tx. 2010) (“This case involves allegations of an episodic act or omission.”); Castro v. Harris
Cnty. Jail, 2007 WL 2446821 (S.D. Tx. 2007) (“A review of Castro's complaint demonstrates that this case involves
allegations of an episodic act or omission.”); Morel v. Lopinto, 2022 WL 110496 (E.D. La. 2022) (“Indeed, this case
does not fit the conditions-of-confinement framework.”); Mitchell v. Denton Cnty., 2022 WL 989392 (E.D. Tx. 2022),
report and recommendation adopted, 2022 WL 987819 (E.D. Tx. 2022) (“the Court construes Plaintiff's allegations
as raising an episodic-acts-or-omissions due process claim.”)
128
    Mahmoud, 234 F.3d 29; Jane Doe 5, 106 Fed. Appx. 906; Soto, 106 Fed. Appx. 903; Garcia Guevara, 106 Fed.
Appx. 900; Howard-Barrows, 106 Fed. Appx. 912.
129
    R. Doc. 457, pg. 17.
130
    McCord v. Maggio, 927 F.2d 844, 847 (5th Cir.1991).

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infested, windowless, unlighted cells into which rain water and backed-up sewage leaked.” 131

When the floors flooded, he “either had to stand up all night or sleep on a wet mattress on the

floor.”132

         Here, the conditions of Plaintiffs’ holding cells were uncomfortable, but they were not

unconstitutional and certainly not deplorable. Sheriff Smith provided Plaintiffs with conditions

that both respected their constitutional rights and assured their safety. Indeed, the facts in McCord

are clearly distinguishable from the foregoing matter, as the defendants were denied qualified

immunity, while in this matter the Court held that both Defendants were entitled to qualified

immunity.133 Additionally, as proclaimed by Mayfield v. Ellet, the physical constraints of the jail

are a valid consideration when assessing a claim under the Fourteenth Amendment. 134 In the space

available to all prison population at the STPJ, Sheriff Smith properly segregated pretrial detainees

from convicted inmates and kept all of them safe.

         Further, Miller v. Carson135 no longer constitutes good precedent. Under current Fifth

Circuit jurisprudence, and the precedent of this Court, claims by pretrial detainees for lack of

recreation/exercise are de minimis and do not rise to the level of a constitutional claim, 136 and

pretrial detainees do not have a constitutional right to outdoor exercise or recreation. 137

         Second, this Court’s reliance on the statement from Miller providing that “presumably



131
    McCord, 927 F.2d 844, 846.
132
    Id. at 847.
133
    Id.
134
    Mayfield v. Ellett, 102 F.3d 549 (5th Cir.1996), (“Given the physical constraints of the Panola County Jail facility,
we are convinced that the facts alleged by Mayfield would not even arguably suffice to sustain a finding that he was
unconstitutionally punished within the meaning of the Fourteenth Amendment.”)
135
    Miller v. Carson, 563 F.2d 741 (5th Cir.1977).
136
    Mahmoud, 234 F.3d 29; Jane Doe 5, 106 Fed. Appx. 906; Soto, 106 Fed. Appx. 903; Garcia Guevara, 106 Fed.
Appx. 900; Howard-Barrows, 106 Fed. Appx. 912.
137
    Callicutt v. Panola Cnty. Jail, 200 F.3d 816 (5th Cir. 1999). Also, Miller v. Carson is factually distinguishable, as
it was brought by detainees who “were literally stored in a building designed as a maximum security penal institution
a building designed to punish as well as to hold. […] Inmates presumed innocent by the law were often kept for months
in these cellblocks while waiting for trial.” Miller v. Carson, 563 F.2d 741, 750 (5th Cir.1977).

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innocent pretrial detainees who are not classified as security risks and who have not been shown

to have violated the disciplinary rules of the jail have a fourteenth amendment and 1983 right to

regular access to the outdoors,”138 ignores the Supreme Court’s later opinion on this point in

Bell, where it held that “[t]here is no basis for concluding that pretrial detainees pose any lesser

security risk than convicted inmates,” and that “it may be that in certain circumstances they

present a greater risk to jail security and order.”139

        For pretrial detainees like Plaintiffs, challenging the conditions of confinement, their claim

must be assessed under the due process clause of the Fourteenth Amendment. “In Bell v. Wolfish,

the Supreme Court determined that as to pretrial detainees, the proper inquiry under the due process

clause is whether conditions accompanying pretrial detention are imposed upon detainees for the

purpose of punishment, as the due process clause does not permit punishment prior to an

adjudication of guilt.”140 As confirmed by Mayfield v. Ellet, “Bell recognized that ensuring security

and order at detention facilities is a permissible nonpunitive objective.“ 141

        D. The Court erred in allowing claims not asserted by plaintiffs to continue to trial.

        Sheriff Smith notes that Court’s Order potentially allows Mr. Baqer, Mr. Guillot and Mr.

Williams to move forward with Monell claims as to lack of exercise/recreation, despite all three

(3) of these Plaintiffs failing to assert such a causes of action in their Complaints.142 Indeed, a

review of the allegations contained within the Complaints clearly indicates that Mr. Baqer,143

Mr. Guillot144 and Mr. Williams145 never asserted a cause of action for lack of



138
    See R. Doc. 457, pg. 15.
139
    Bell, 441 U.S. 520 at fn 28; See also Block, 468 U.S. 576 at 587.
140
    Cupit, 835 F.2d 82.
141
    Mayfield v. Ellett, 102 F.3d 549 (5th Cir.1996)
142
    See R. Doc. 457.
143
    See R. Doc. 1, ¶¶ 84 – 93.
144
    See R. Doc. 1, ¶¶ 108 – 116.
145
    See 2:20-cv-01840-LMA-MBN, R. Doc. 1, ¶¶ 129 – 152.

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exercise/recreation. Indeed, the only Plaintiffs who have specifically asserted claims for lack of

exercise/recreation are Mr. Hall146 and Mr. Louviere.147 Therefore, because Mr. Baqer, Mr.

Guillot and Mr. Williams have never asserted conditions of confinement claims and/or Monell

claims as to lack of exercise/recreation, those claims have never been before this Court and can

therefore not be allowed to proceed to trial in this matter.148

         E. It is an undisputed fact that Klabert Joseph Guillot, Sr., failed to exhaust his
            administrative remedies, thereby mandating dismissal

         Throughout this litigation, and from its very inception, Defendant has consistently noted

that Mr. Guillot never initiated or filed a grievance through the Administrative Remedy Procedure

(“ARP”) with regard to the conditions of confinement he allegedly suffered during his time in the

holding cell, as required prior to the filing of suit pursuant to 42 USCS § 1997e. 149

         Indeed, Mr. Guillot’s own testimony further confirms that at the time suit was filed in this

matter on March 22, 2020, he had been held in the St. Tammany Parish Jail as a pretrial detainee

since his December 22, 2019 arrest.150 It is an undisputed fact that he was ultimately released from

the STPJ on March 27, 2020, five (5) days after suit had been filed in this matter. 151 It is an

undisputed fact that he never initiated or filed a grievance through the ARP. 152 Mr. Guillot,

therefore, has failed to exhaust his administrative remedies, and in accordance with the Supreme

Court’s holding in Woodford v. Ngo, his claims must be dismissed, as “[e]xhaustion is no longer




146
    See 2:20-cv-01840-LMA-MBN, R. Doc. 1, ¶ 126.
147
    See 2:20-cv-01840-LMA-MBN, R. Doc. 1, ¶ 110.
148
    See R. Doc. 451, pg. 3, fn 4, citing Cutrera v. Board of Sup’rs of Louisiana State University, 429 F.3d 108 (5th
Cir. 2005) (“A claim which is not raised in the complaint but, rather, is raised only in response to a motion for summary
judgment is not properly before the court.”)
149
    See R. Doc. 46, pg. 4, Affirmative Defense Fifteen; See also R. Doc. 422, pgs. 1-6, citing R. Doc. 391-2, pg. 5, ¶
37; See R. Doc. 37-1, ¶ 25; See R. Doc. 235-2, pg. 5, ¶ 37.
150
    See R. Doc. 391-13, pg. 34, lines 8 – 13.
151
    See R. Doc. 391-2, pg. 2, ¶ 10; See also R. Doc. 410-1, pg. 3, ¶ 10; See R. Doc. 37-1, pg. 2, ¶ 10.
152
    See R. Doc. 410-1, pg. 7, ¶ 37.

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left to the discretion of the district court, but is mandatory.” 153

       IV.      CONCLUSION

             For the foregoing reasons, Defendant respectfully suggests that the instant motion for

reconsideration should be granted, and Plaintiffs’ remaining claims should be dismissed with

prejudice.

                                              Respectfully submitted,

                                              MILLING BENSON WOODWARD L.L.P.

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                                       CERTIFICATE OF SERVICE

             I hereby certify that the above and foregoing was electronically filed with the Clerk of

Court of the United States District Court for the Eastern District of Louisiana on Wednesday, April

09, 2025, by using the CM/ECF system, which system will send a notice of electronic filing to

appearing parties in accordance with the procedures established.

                                             _s/ Andrew R. Capitelli__
                                               Andrew R. Capitelli



153
      Woodford v. Ngo, 548 U.S. 81 (2006).

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